Case 3:22-pq-02426-NJR Document 1-2 Filed 10/19/22 Page 1 of 2 Page ID #72




                EXHIBIT B
          COURT DOCKET - MADISON Case COUNTY   CIRCUIT CLERK
                                        3:22-pq-02426-NJR Document 1-2 Filed 10/19/22 Page 2 PAGE:      1 #73
                                                                                             of 2 Page ID
Case: 2022LA001185           CONLIN DEBORAH vs SYNGENTA CROP PROTECTI                        DATE: 2022-10-19
Type: WRONGFUL DEATH (OVER 50K)    Judge: THRELKELD CHRISTOPHER P Jury Trial:                TIME: 10.17.41
From: 00/00/0000 To: 99/99/9999 All Case Entries          First Date First View
Filed: 9/22/2022 Status: Open Case on 9/22/2022
           CASE PARTICIPANTS NAMES                              ATTORNEYS
           -----------------------                              ---------
PLA        CONLIN DEBORAH                                       SUBSTITUTED PARTY
PLA        CONLIN DEBORAH INDIVIDUALLY AND AS SPECIAL ADMI      ROMANI ALLYSON M
DEF        SYNGENTA CROP PROTECTION LLC
DEF        SYNGENTA AG
DEF        CHEVRON USA INC

DATE
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09/22/2022 OTHER FILING DOCUMENT 20220922WINDERSEOA FOR AMR
           Plaintiff CONLIN DEBORAH Defendant SYNGENTA CROP PROTECTION LLC
09/22/2022 COMPLAINT-WINDERS JOHN FILED BY Plaintiff CONLIN DEBORAH
09/22/2022 WRONGFUL DEATH (OVER 50K) Fee $314.00 FILED BY
           Plaintiff CONLIN DEBORAH
09/22/2022 MOTION TO APPOINT SPECIAL ADMINISTRATOR- WINDERS JOHN FILED BY
           Plaintiff CONLIN DEBORAH
09/22/2022 EXHIBIT MOT TO APPT SPAM EX A FILED BY Plaintiff CONLIN DEBORAH
09/22/2022 JA Assignment Order HON. CHRISTOPHER THRELKELD S/MUDGE
           Document JAORDER.DOC Was Printed
09/28/2022 ORDER- DEBORAH CONLIN IS APPOINTED SPECIAL ADMINISTRATOR. S/O C/M
           SIGNED BY JUDGE THRELKELD CHRISTOPHER P
09/30/2022 SERVICE LIST FILED BY Plaintiff CONLIN DEBORAH INDIVIDUALLY AN
10/03/2022 SUMMONS ISSUED AND SENT TO P/A VIA EFILE ISSUED
           Defendant CHEVRON USA INC Defendant SYNGENTA CROP PROTECTION LLC
           Document SU30DAY.DOC Not Printed
10/07/2022 SERVICE LIST FILED BY Plaintiff CONLIN DEBORAH INDIVIDUALLY AN
10/07/2022 ALIAS SUMMONS Fee $5.00 FILED BY
           Plaintiff CONLIN DEBORAH INDIVIDUALLY AN
10/07/2022 OTHER FILING DOCUMENT SUMMONS THAT WAS NOT SERVED FILED BY
           Plaintiff CONLIN DEBORAH INDIVIDUALLY AN
           NONSERVED DUE TO NAME INCORRECT.
10/07/2022 ALIAS SUMMONS ISSUED AND SENT TO P/A VIA EFILE ISSUED
           Defendant SYNGENTA CROP PROTECTION LLC
           Document SUALIAS.DOC Not Printed
